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 PRIV
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   Message

   From:             Wu Meili [wumeili@bytedance.com]
   Sent:             9/22/2017 6:21:21 AM
   To:               Xin, Yuanyuan [xinyuanyuan@bytedance.com]
   CC:               fanlinlinfll [fanlinlinfll@bytedance.com]; Wang Xiaodong [wangxiaodong@bytedance.com]; Li Cheng
                     [licheng.kyle@bytedance.com]; Ben Li [lizhi.ben@bytedance.com]
   Subject:
   Attachments




   --
   Wu Meili Jinri Toutiao Human Resources Department Compensation and Benefits
   Phone: 010-58341778
   Company: Beijing ByteDance Technology Co., Ltd.
   Jinri Toutiao, Building 1, China Aviation Plaza, No. 43, North Third Ring West Road, Haidian District, Beijing
   Postal code: 100086




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   Message

   From:           Yuanyuan Xin [xinyuanyuan@bytedance.com]
   Sent:           9/24/2017 8:23:21 AM
   To:             Wu Meili [wumeili@bytedance.com]
   CC:             fanlinlinfll [fanlinlinfll@bytedance.com]; Wang Xiaodong [wangxiaodong@bytedance.com]; Li Cheng
                   [licheng.kyle@bytedance.com]; Ben Li [lizhi.ben@bytedance.com]
   BCC:            xinyuanyuan@bytedance.com
   Subject:
   Attachments:




  From: Wu Meili [wumeili@bytedance.com]
  Date: Friday, September 22, 2017 02:21 p.m.
  From: "Xin, Yuanyuan" <xinyuanyuan@bytedance.com>
  Cc: fanlinfll <fanlinlinfll@bytedance.com>, Wang Xiaodong <wangxiaodong@bytedance.com>, Li Cheng
  <licheng.kyle@bytedance.com>, Ben Li <lizhi.ben@bytedance.com>
  Subject:




  --
  Wu Meili Jinri Toutiao Human Resources Department Compensation and Benefits
  Phone: 010-58341778
  Company: Beijing ByteDance Technology Co., Ltd.
  Jinri Toutiao, Building 1, China Aviation Plaza, No. 43, North Third Ring West Road, Haidian District, Beijing
  Postal code: 100086




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FILED UNDER SEAL
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